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 11 Charles D. Naylor,
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                        Esq., (SBN
                              (SBN 62243)
                                   62243)
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          OFFICES OF OF CHARLES
                         CHARLES D. D. NAYLOR
                                       NAYLOR
 22 A
    A Professional
      Professional Corporation
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 33 Long Beach, California
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 66
      Attorney for
      Attorney for Plaintiff,
                   Plaintiff,
 77   BARBARA J.
      BARBARA      J. RUFF
                      RUFF
 88                              UNITED STATES
                                 UNITED STATES DISTRICT
                                               DISTRICT COURT
                                                        COURT
 99                              CENTRAL DISTRICT
                                 CENTRAL DISTRICT OF
                                                  OF CALIFORNIA
                                                     CALIFORNIA
10
10
11
11    BARBARA J.
      BARBARA J. RUFF,
                 RUFF,                                   Case
                                                         Case No.:
                                                              No.: 2:19-cv-6592
12
12
                    Plaintiff,
                    Plaintiff,                           COMPLAINT FOR
                                                         COMPLAINT   FOR DAMAGES
                                                                         DAMAGES FOR
                                                                                 FOR
13
13                                                       PERSONAL
                                                         PERSONAL INJURIES;  DEMAND
                                                                   INJURIES; DEMAND
14
14           v.
             v.                                          FOR
                                                         FOR JURY
                                                             JURY TRIAL
                                                                  TRIAL

15
15    CRYSTAL
      CRYSTAL CRUISES,
              CRUISES, LLC;
                       LLC;
16
16
                    Defendant.
                    Defendant.
17
17
18
18
19
19
20
20          COMES
            COMES NOW
                  NOW the
                      the Plaintiff,
                          Plaintiff, BARBARA
                                     BARBARA J.
                                             J. RUFF,
                                                RUFF, (hereinafter
                                                      (hereinafter "Plaintiff") and for
                                                                   "Plaintiff') and for
21
21    aa cause of action
         cause of action against
                         against the
                                 the defendant,
                                     defendant, complains
                                                complains and alleges as
                                                          and alleges as follows:
                                                                         follows:
22
22                                  JURISDICTION AND
                                    JURISDICTION AND VENUE
                                                     VENUE
23
23
      1.    This is
                 is an
                    an action
                       action for
                              for damages
                                  damages for
                                          for personal
                                              personal injuries,
      1.    This                                       injuries, the
                                                                 the value
                                                                     value of
                                                                           of which
                                                                              which exceeds
                                                                                    exceeds this
                                                                                            this
24
      Court's minimum jurisdictional
      Court's minimum jurisdictional requirements,
                                     requirements, to
                                                   to wit,
                                                      wit, $75,000.00,
                                                           $75,000.00, exclusive
                                                                       exclusive of
                                                                                 of all
                                                                                    all interest
                                                                                        interest
25
25
      and costs.
      and        The injury
          costs. The  injury giving
                             giving rise
                                    rise to
                                          to this
                                             this action
                                                  action occurred
                                                         occurred while
                                                                  while plaintiff
                                                                        plaintiff was
                                                                                  was aa fare
                                                                                         fare paying
                                                                                              paying
26
      passenger aboard
      passenger aboard aa cruise
                          cruise ship
                                 ship operating
                                      operating on
                                                on navigable
                                                   navigable waters. This Court
                                                             waters. This Court has
                                                                                has Jurisdiction
                                                                                    Jurisdiction
27
27
   under 28
28 under
28       28 U.S.C.
            U.S.C. §§ 1332
                      1332 as
                           as well
                              well as
                                   as under the general
                                      under the general maritime
                                                        maritime law
                                                                 law of
                                                                     of the
                                                                        the United
                                                                            United States.
                                                                                   States.

                                                    11
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 11
      Venue is
      Venue is based
               based on
                     on the
                        the forum
                            forum selection
                                  selection clause
                                            clause included
                                                   included in
                                                            in the
                                                               the terms
                                                                   terms of
                                                                         of defendant’s
                                                                            defendant's
 22
      passage contract.
      passage contract.
 33
                                           GENERAL ALLEGATIONS
 4
 4
 5
 5    2.
      2.     At all
             At all times
                    times herein
                          herein material
                                 material defendant, CRYSTAL CRUISES,
                                          defendant, CRYSTAL CRUISES, LLC,
                                                                      LLC, was
                                                                           was aa limited
                                                                                  limited

 66   liability company
      liability company with its principal
                        with its principal place of business
                                           place of business in
                                                             in the
                                                                the state
                                                                    state of
                                                                          of California,
                                                                             California, the
                                                                                         the
 77   County
      County of
             of Los
                Los Angeles
                    Angeles and
                            and this
                                this judicial
                                     judicial district.
                                              district.
 88   3.
      3.     At all
             At all times
                    times herein
                          herein material,
                                 material, Plaintiff
                                           Plaintiff was
                                                     was and is aa resident
                                                         and is    resident of
                                                                            of the
                                                                               the State
                                                                                   State of Florida
                                                                                         of Florida
 99   and the
      and the County
              County of
                     of Palm
                        Palm Beach.
                             Beach.
10
10
      4.
      4.     At all
             At all times
                    times herein
                          herein material
                                 material Defendants,
                                          Defendants, and
                                                      and each
                                                          each of
                                                               of them,
                                                                  them, owned, operated,
                                                                        owned, operated,
11
11
      maintained, controlled
      maintained, controlled and
                             and inspected
                                 inspected the
                                           the CRYSTAL
                                               CRYSTAL SERENITY
                                                       SERENITY (hereinafter
                                                                (hereinafter “vessel”),
                                                                             "vessel"), aa
12
12
      foreign
      foreign flag
              flag passenger
                   passenger cruise
                             cruise vessel
                                    vessel which
                                           which defendant
                                                 defendant utilized
                                                           utilized to
                                                                    to transport
                                                                       transport fare
                                                                                 fare paying
                                                                                      paying
13
13
   passengers on
14 passengers
14            on cruises
                 cruises on
                         on navigable
                            navigable waters
                                      waters of
                                             of the
                                                the United
                                                    United States
                                                           States and
                                                                  and on
                                                                      on the
                                                                         the high
                                                                             high seas.
                                                                                  seas.

15 5.
15 5.        Prior
             Prior to
                   to the
                      the departure
                          departure date,
                                    date, Plaintiff
                                          Plaintiff purchased
                                                    purchased aa ticket
                                                                 ticket for
                                                                        for aa cruise
                                                                               cruise aboard
                                                                                      aboard the
                                                                                             the
16
16    vessel with
      vessel with aa scheduled
                     scheduled departure
                               departure from
                                         from Dover,
                                              Dover, England
                                                     England on
                                                             on July
                                                                July 27,
                                                                     27, 2018,
                                                                         2018, and
                                                                               and
17 disembarkation
17 disembarkation at  at Monte
                         Monte Carlo
                                  Carlo onon August
                                               August 12,
                                                        12, 2018.
                                                             2018.
18
18 6.
   6.     On
          On oror about
                  about August
                          August 6,  6, 2018,
                                        2018, Plaintiff
                                               Plaintiff was
                                                          was aboard
                                                               aboard the
                                                                       the vessel
                                                                           vessel asas aa fare
                                                                                          fare paying
                                                                                               paying
19
19
   passenger and
   passenger   and was
                     was attempting
                          attempting to  to make
                                            make useuse of
                                                        of an
                                                            an above
                                                               above deck
                                                                      deck level
                                                                            level jacuzzi
                                                                                   jacuzzi located
                                                                                             located on
                                                                                                      on the
                                                                                                         the
20
20
   lido deck.
   lido         Ms. Ruff
        deck. Ms.    Ruff went
                            went upup the
                                        the stairs
                                            stairs to
                                                   to the
                                                      the jacuzzi
                                                           jacuzzi on
                                                                   on the
                                                                      the right
                                                                           right side
                                                                                 side ofof the
                                                                                           the center
                                                                                                center
21
21
   handrail. Just
   handrail.   Just prior
                    prior to
                           to the
                               the incident,
                                    incident, she
                                               she was
                                                    was standing
                                                         standing on
                                                                   on the
                                                                       the teak
                                                                           teak deck
                                                                                 deck (also
                                                                                         (also the
                                                                                               the top
                                                                                                   top step
                                                                                                       step of
                                                                                                            of
22
22
   the stairs)
23 the
23     stairs) with
               with her
                     her left
                          left hand
                                hand onon the
                                           the center
                                               center handrail,
                                                        handrail, with
                                                                  with both
                                                                        both feet
                                                                              feet on
                                                                                    on the
                                                                                        the deck.  The deck
                                                                                             deck. The  deck
   where she
24 where she was
             was standing
                 standing was
                          was wet
                              wet with
                                  with what
                                       what appeared
                                            appeared to
                                                      to be
                                                         be water. She intended
                                                            water. She intended to
                                                                                to test
                                                                                   test the
                                                                                        the
25 temperature
25 temperature of
               of the
                  the water
                      water with
                            with her
                                 her right
                                     right foot
                                           foot before
                                                before getting
                                                       getting in.  To do
                                                                in. To do so,
                                                                          so, she
                                                                              she raised
                                                                                  raised her
                                                                                         her
26
26    right foot
      right foot and
                 and extended
                     extended itit toward
                                   toward the
                                          the water. Before her
                                              water. Before her right
                                                                right foot
                                                                      foot reached
                                                                           reached the
                                                                                   the water,
                                                                                       water, her
                                                                                              her
27
27
      left foot
      left foot slipped
                slipped causing
                        causing her
                                her to
                                    to fall
                                       fall backwards. She was
                                            backwards. She was unable
                                                               unable to
                                                                      to maintain
                                                                         maintain her
                                                                                  her grip
                                                                                      grip on
                                                                                           on
28
28
                                                         22
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 11
      the handrail
      the handrail and
                   and fell
                       fell all
                            all the way down
                                the way down to
                                             to the
                                                the bottom
                                                    bottom of
                                                           of the
                                                              the stairway,
                                                                  stairway, sustaining
                                                                            sustaining serious
                                                                                       serious
 22
      injuries including
      injuries including fracturing
                         fracturing her
                                    her neck
                                        neck at
                                             at C-2.
                                                C-2.
 33
      7.
      7.    As aa direct
            As    direct and
                         and legal
                             legal result
                                   result of
                                          of the
                                             the incident
                                                 incident alleged
                                                          alleged herein Plaintiff, was
                                                                  herein Plaintiff, was hurt
                                                                                        hurt and
                                                                                             and
 4
 4
 5
 5    injured in
      injured in her
                 her health,
                     health, strength and activity,
                             strength and activity, sustaining severe physical
                                                    sustaining severe physical injury
                                                                               injury to
                                                                                      to her
                                                                                         her body,
                                                                                             body,

 66   including but
      including but not limited to
                    not limited to the
                                   the injuries
                                       injuries describe
                                                describe above,
                                                         above, and
                                                                and shock
                                                                    shock and
                                                                          and injury
                                                                              injury to
                                                                                     to her
                                                                                        her
 77   nervous system
      nervous system and
                     and person,
                         person, all
                                 all of
                                     of which
                                        which injuries
                                              injuries have caused and
                                                       have caused and continue
                                                                       continue to
                                                                                to cause
                                                                                   cause
 88 physical
    physical and
             and emotional
                 emotional pain
                            pain and
                                 and suffering.
                                      suffering. Plaintiff
                                                  Plaintiff is
                                                            is informed
                                                               informed and
                                                                          and believes,
                                                                              believes, and
                                                                                        and
 99 thereupon
    thereupon alleges
              alleges that
                      that some
                           some or
                                 or all
                                    all of
                                        of the
                                           the injuries
                                               injuries will
                                                        will result
                                                              result in
                                                                     in permanent
                                                                        permanent damage,
                                                                                   damage,
10
10
      disability, pain
      disability, pain and
                       and suffering,
                           suffering, causing
                                      causing general
                                              general damages in an
                                                      damages in an amount
                                                                    amount within
                                                                           within the
                                                                                  the
11
11
      jurisdictional requirements
      jurisdictional requirements of
                                  of this
                                     this court.
                                          court.
12
12
      8.
      8.    As aa further
            As    further direct
                          direct and
                                 and legal
                                     legal result
                                           result of the incident
                                                  of the          herein alleged,
                                                         incident herein alleged, it
                                                                                  it was
                                                                                     was and
                                                                                         and
13
13
14 continues
14           to be
   continues to be necessary
                   necessary for
                             for Plaintiff
                                 Plaintiff to
                                           to receive
                                              receive medical
                                                      medical and/or
                                                              and/or psychological
                                                                     psychological care
                                                                                   care and
                                                                                        and
   treatment. Plaintiff
15 treatment.
15            Plaintiff isis informed
                              informed and
                                       and believes
                                           believes and
                                                    and thereon
                                                        thereon alleges
                                                                alleges that
                                                                        that such
                                                                             such care
                                                                                  care and
                                                                                       and
16 treatment
16 treatment will
             will be
                  be so
                     so necessary
                        necessary for
                                  for an
                                      an indefinite
                                         indefinite time
                                                    time in
                                                          in the
                                                              the future.  The cost
                                                                   future. The cost of
                                                                                    of medical
                                                                                       medical
17 and/or
17 and/or psychological
          psychological care
                           care and
                                and treatment
                                     treatment isis not
                                                    not known
                                                        known at at this
                                                                     this time
                                                                          time and
                                                                                 and plaintiff
                                                                                      plaintiff alleges
                                                                                                alleges as
                                                                                                        as
18
18 damages herein
   damages   herein the
                     the amount
                         amount ofof such
                                     such cost
                                           cost according
                                                 according to to proof
                                                                 proof at
                                                                        at trial.
                                                                            trial.
19
19
   9.
   9.     As aa further
          As    further direct
                        direct and
                               and legal
                                    legal result
                                          result of
                                                  of the
                                                     the incident
                                                         incident herein
                                                                    herein alleged,
                                                                             alleged, Plaintiff
                                                                                       Plaintiff was
                                                                                                  was
20
20
   prevented from
   prevented   from attending
                     attending her
                                her usual
                                    usual occupation
                                           occupation forfor aa period
                                                                period of
                                                                        of time,
                                                                            time, and
                                                                                   and has
                                                                                        has been
                                                                                            been
21
21
   impaired in
22 impaired
22           in the
                 the performance
                     performance ofof her  work to
                                       her work   to the present time,
                                                     the present   time, and
                                                                          and isis informed
                                                                                   informed and
                                                                                              and believes
                                                                                                   believes

23
23    and thereon
      and thereon alleges
                  alleges that
                          that she
                               she will
                                   will continue
                                        continue to
                                                 to be
                                                    be so
                                                       so prevented
                                                          prevented for
                                                                    for an
                                                                        an indefinite
                                                                           indefinite period
                                                                                      period of
                                                                                             of
   time in
24 time in the
           the future,
               future, thereby
                       thereby resulting
                               resulting in
                                         in aa loss
                                               loss of
                                                    of earnings
                                                       earnings and
                                                                and earning
                                                                    earning capacity,
                                                                            capacity, the
                                                                                      the exact
                                                                                          exact
25 amount
25 amount of
           of which
              which is
                     is unknown
                        unknown at
                                 at this
                                    this time. Plaintiff alleges
                                         time. Plaintiff alleges as
                                                                 as damages
                                                                    damages herein
                                                                            herein the
                                                                                   the amount
                                                                                       amount
26 of such loss of earnings and earning capacity in an amount according to proof at trial.
26 of such loss of earnings and earning capacity in an amount according to proof at trial.
27
27
28
28
                                                       33
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11
                       FIRST CAUSE
                       FIRST CAUSE OF
                                   OF ACTION AGAINST DEFENDANT
                                      ACTION AGAINST DEFENDANT
22
                                (Negligence-General Maritime
                                (Negligence-General Maritime Law)
                                                             Law)
33
      10.
      10.   Plaintiff
            Plaintiff re-alleges
                      re-alleges and
                                 and incorporates
                                     incorporates hereby
                                                  hereby by
                                                         by reference
                                                            reference Paragraphs
                                                                      Paragraphs 11 to
                                                                                    to 9,
                                                                                       9,
4
4
 5
 5    inclusive, of
      inclusive, of the
                    the Jurisdiction,
                        Jurisdiction, Venue
                                      Venue and
                                            and General
                                                General Allegations
                                                        Allegations of
                                                                    of this Complaint as
                                                                       this Complaint as though
                                                                                         though

66    the same
      the same were fully set
               were fully     forth.
                          set forth.
 77   11.
      11.   As the
            As the owner
                   owner and
                         and operator
                             operator of
                                      of the
                                         the vessel,
                                             vessel, Defendant
                                                     Defendant owed
                                                               owed Plaintiff
                                                                    Plaintiff aa duty
                                                                                 duty to
                                                                                      to
88    exercise
      exercise reasonable
               reasonable care
                          care under
                               under the
                                     the circumstances
                                         circumstances to
                                                       to avoid
                                                          avoid causing
                                                                causing her
                                                                        her personal
                                                                            personal injuries.
                                                                                     injuries.
 99   Defendant had
      Defendant had aa further
                       further duty
                               duty to warn Plaintiff
                                    to warn Plaintiff of
                                                      of any
                                                         any dangerous
                                                             dangerous conditions
                                                                       conditions which
                                                                                  which were
                                                                                        were
10
10
      known to
      known to Defendant
               Defendant or
                         or could
                            could have
                                  have been
                                       been known
                                            known to
                                                  to Defendant
                                                     Defendant by
                                                               by reasonable
                                                                  reasonable inspection.
                                                                             inspection.
11
11
      12.
      12.   Defendant breached
            Defendant breached its
                               its duty
                                   duty of
                                        of care
                                           care to
                                                to Plaintiff
                                                   Plaintiff by
                                                             by inter
                                                                inter alia;
                                                                      alia;
12
12
            a.
            a.     By causing
                   By         and/or allowing
                      causing and/or allowing the
                                              the stairway
                                                  stairway to
                                                           to the jacuzzi to
                                                              the jacuzzi to be
                                                                             be constructed
                                                                                constructed and
                                                                                            and
13
13
14
14          maintained with
            maintained with too
                            too steep
                                steep an
                                      an angle,
                                         angle, considering
                                                considering the
                                                            the material
                                                                material is
                                                                         is was
                                                                            was constructed
                                                                                constructed of,
                                                                                            of,

15
15          the size
            the size and
                     and configuration
                         configuration of
                                       of its handrails and
                                          its handrails and its
                                                            its proximity
                                                                proximity to
                                                                          to the
                                                                             the jacuzzi;
                                                                                 jacuzzi;
16
16          b.
            b.     By causing
                   By         and/or allowing
                      causing and/or allowing the
                                              the stairway
                                                  stairway handrails
                                                           handrails to the jacuzzi
                                                                     to the jacuzzi to
                                                                                    to be
                                                                                       be
17
17          constructed and maintained
            constructed and maintained with
                                       with too
                                            too large
                                                large of
                                                      of an
                                                         an outside
                                                            outside diameter,
                                                                    diameter, considering
                                                                              considering the
                                                                                          the
18
18          steepness of
            steepness of the
                         the stairway,
                             stairway, the
                                       the configuration
                                           configuration of
                                                         of the
                                                            the handrails
                                                                handrails and
                                                                          and their
                                                                              their proximity
                                                                                    proximity to
                                                                                              to
19
19
            the jacuzzi;
            the jacuzzi;
20
20
            c.
            c.     By casing
                   By casing and/or allowing the
                             and/or allowing the jacuzzi
                                                 jacuzzi perimeter
                                                         perimeter walkway
                                                                   walkway to
                                                                           to be
                                                                              be too
                                                                                 too narrow,
                                                                                     narrow,
21
21
            configured
            configured incorrectly,
                       incorrectly, and
                                    and to
                                        to be
                                           be constructed
                                              constructed of
                                                          of materials
                                                             materials that
                                                                       that contributed
                                                                            contributed to
                                                                                        to it
                                                                                           it
22
22
23
23          becoming slippery
            becoming slippery and
                              and unsafe;
                                  unsafe;

24          d.
            d.     By causing
                   By         and/or allowing
                      causing and/or allowing the
                                              the jacuzzi
                                                  jacuzzi to
                                                          to be
                                                             be constructed
                                                                constructed and
                                                                            and maintained
                                                                                maintained
25
25          without at
            without at least
                       least one
                             one handrail
                                 handrail extending
                                          extending from
                                                    from the
                                                         the perimeter
                                                             perimeter walkway
                                                                       walkway into
                                                                               into the
                                                                                    the
26
26          jacuzzi.
            jacuzzi.
27
27
28
28
                                                   44
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 11
            e.
            e.      By failing
                    By         to adequately
                       failing to adequately inspect,
                                             inspect, clean
                                                      clean and
                                                            and maintain
                                                                maintain the
                                                                         the jacuzzi
                                                                             jacuzzi perimeter
                                                                                     perimeter
 22
            walkway, which
            walkway, which was
                           was also
                               also the
                                    the top
                                        top step
                                            step of
                                                 of the
                                                    the stairs,
                                                        stairs, so
                                                                so that
                                                                   that it
                                                                        it was
                                                                           was allowed
                                                                               allowed to
                                                                                       to
 33
            become slippery;
            become slippery;
 4
 4
 5
 5          f.
            f.      By
                    By failing to take
                       failing to take appropriate
                                       appropriate remedial
                                                   remedial action;
                                                            action; and,
                                                                    and,

 66         g.
            g.      By failing
                    By failing to effectively warn
                               to effectively warn Plaintiff
                                                   Plaintiff of
                                                             of the
                                                                the dangerous
                                                                    dangerous condition
                                                                              condition of
                                                                                        of the
                                                                                           the
 77         jacuzzi aboard
            jacuzzi aboard the
                           the CRYSTAL
                               CRYSTAL SERENITY
                                       SERENITY on
                                                on the
                                                   the Lido
                                                       Lido deck;
                                                            deck;
 88   13.
      13.   As aa direct
            As    direct and
                         and legal
                             legal result
                                   result of
                                          of defendants'
                                             defendants' breach
                                                         breach of
                                                                of aa duty
                                                                      duty of
                                                                           of care
                                                                              care owed to
                                                                                   owed to
 99   Plaintiff,
      Plaintiff, Plaintiff
                 Plaintiff was
                           was injured
                               injured and
                                       and suffered
                                           suffered damages
                                                    damages as aforesaid.
                                                            as aforesaid.
10
10
                                               PRAYER
                                               PRAYER
11
11
            WHEREFORE, Plaintiff
            WHEREFORE, Plaintiff prays
                                 prays for
                                       for damages
                                           damages against
                                                   against defendants,
                                                           defendants, and
                                                                       and each
                                                                           each of
                                                                                of them,
                                                                                   them,
12
12
      as follows:
      as follows:
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13
   1.
14 1.
14          For general
            For general damages
                        damages according
                                according to
                                          to proof;
                                             proof;
   2.
15 2.
15          For medical
            For medical expenses,
                        expenses, past
                                  past and
                                       and future,
                                           future, according
                                                   according to
                                                             to proof;
                                                                proof;
16
16    3.
      3.    For prejudgment
            For prejudgment interest;
                            interest;
17 4.
17 4.       For costs
            For costs of suit; and,
                      of suit; and,
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18 5.
   5.       For other such relief as the Court may deem proper.
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20
                                      DEMAND FOR
                                      DEMAND FOR JURY
                                                 JURY TRIAL
                                                      TRIAL
21
21
            Plaintiff
            Plaintiff BARBARA
                      BARBARA J.
                              J. RUFF
                                 RUFF hereby
                                      hereby demands
                                             demands trial
                                                     trial by
                                                           by jury
                                                              jury of
                                                                   of the
                                                                      the above-captioned
                                                                          above-captioned
22
22
   matter.
23 matter.
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      Case 2:19-cv-06592-CJC-JPR Document 1 Filed 07/30/19 Page 6 of 6 Page ID #:6



11    Dated:
      Dated: 7/30/2019
             7/30/2019                         LAW OFFICES
                                               LAW         OF
                                                   OFFICES OF
                                               CHARLES
                                               CHARLES D. NAYLOR
                                                       D. NAYLOR
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33
                                         By:
                                         By:   /s/ Charles D.
                                               A/ Charles  D. Naylor
                                                               Naylor
4
4                                              Charles D. Naylor,
                                               Charles D. Naylor, Esq.
                                                                   Esq.
 5
 5                                             Attorney for Plaintiff,
                                               BARBARA
                                               BARBARA J.   J. RUF
                                                               RUF
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